                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF OKLAHOMA

  IN RE:                                          )
                                                  )
  BACONE COLLEGE,                                 )     Case No. 24-80487
                                                  )     Chapter 11 sub V
                                                  )
                         Debtor.                  )


                         Notice of Proposed Sale Activity and
                   Debtor’s Second Motion to Extend Deadline to File
                                    Amended Plan

        COME NOW Bacone College, debtor in the above-entitled Chapter 11 case, who

 move this court to extend the deadline in which to file an amended plan. In support of

 this Motion, the Debtor would respectfully state:

        1.      Debtor filed its chapter 11 petition on June 24, 2024.

        2.      On November 14, 2024, this court entered an order requiring an amended

                plan to be filed on or before February 10, 2025. Docket 96.

        3.      On February 7, 2025, this court entered another order requiring an

                amended plan to be filed on or before March 28, 2025. Docket 107.

        4.      On July 16, 2024, creditor MHEC, LLC (“MHEC”) filed its MHEC’s

                CORRECTED MOTION TO CONVERT (the “Motion”) at Docket 38.

                MHEC filed a Notice of Default. This court entered an Agreed Order

                Modifying Order Regarding MHEC’s Motion to Convert Case to Chapter

                7 (the “Order”) entered on November 13, 2024 at Docket 94.

        5.      On February 28, 2025, MHEC filed a Notice of Default at Docket 111.

        6.      On March 24, 2025, this court entered the following order at Docket

                124.:

                                              1

Case 24-80487     Doc 127      Filed 03/27/25 Entered 03/27/25 16:16:44          Desc Main
                                Document     Page 1 of 4
                Order (RE: related document(s)[111] Notice of Default filed by MHEC,
                LLC d/b/a Midgley-Huber Energy Concepts). Having reviewed the
                record and pleadings in this matter, the Court hereby directs the Debtor
                to file by Noon on March 28, 2025, a Letter of Intent with specific
                details of a pending sale as requested and outlined by the Debtor in its
                Objection at ECF 116. If no Letter of Intent is filed with specific and
                concrete details of a sale as contemplated by the Modified Agreed Order
                between MHEC and the Debtor (ECF 94), this case shall be converted
                without further notice pursuant to the Notice of Default. (Corley, Cheryl)

       7.       Previously, Debtor was in discussions with the Creek Nation Indian Tribe

                (the “Tribe”) for the purchase of the campus real property and property

                owned by Bacone College Development Corporation (BCDC)

                (collectively, the “Campus Property”). Debtor has been unable to obtain

                a Letter of Intent from the Tribe for the purchase of the Campus Property.

       8.       However, within the last 2 days, Debtor was able to discuss with an

                interested buyer/investor the possible sale of the Campus Property to

                Oppenheimer Development Properties LLC (“Oppenheimer”).

                Oppenheimer advises it has a strong history of purchasing properties and

                developing them for the highest and best use, which sometimes means

                donating the properties to charities or soveriegns in order to obtain

                substantial tax benefits for its partners. Oppenheimer is very interested in

                the possibilities purchase of the Campus Property could provide but needs

                more time to a) do due diligence, b) develop a strategy for the property’s

                best use and c) negotiate in good faith with parties who are also directly

                interested in the property (included MHEC).




                                              2

Case 24-80487     Doc 127      Filed 03/27/25 Entered 03/27/25 16:16:44             Desc Main
                                Document     Page 2 of 4
       9.       Counsel for Debtor, counsel and representative of MHEC and

                representatives of Oppenheimer held a zoom meeting this afternoon to

                discuss MHEC’s pending motion to convert, the impending deadline

                set by the court as described above, and MHEC’s request for

                conversion of this case. As a result of the meeting, and subject to

                follow up confirmation (and court’s consent to grant the following

                described extensions), MHEC and Oppenheimer agreed principally to

                the following:

                •      Oppenheimer Development Properties LLC will wire, by March
                       28, 2025, a non-refundable payment of $100k to MHEC. In
                       exchange for this promise, MHEC agrees to a) immediately ask the
                       court to delay entering an order converting the Bacone College
                       Chapter 11 case to a chapter 7 to the bankruptcy code and b) set
                       the Motion to Convert and Notice of Default for telephonic status
                       hearing 45 days from now, according to the court’s calendar.
                •      The non-refundable payment of $100k is payment for the delay
                       and will not be applied to any outstanding balance owed by
                       Bacone College to MHEC.
                •      On or before the status hearing, Oppenheimer Development
                       Properties LLC will have the opportunity to pay another non-
                       refundable payment of $100k to MHEC in exchange for MHEC’s
                       agreement to further delay the entry of an order converting the case
                       to chapter 7 for another 45 days.


       10.      Oppenheimer has shown its commitment by offering a substantial

                amount of its own money.

       11.      Knowing further details about the sale of Campus Property (or

                whatever plan Oppenheimer is able to develop), is crucial to what the

                content needed to be included in an amended chapter 11 plan.

       12.      Counsel would request that the court allow up until June 30, 2025 to file

                an amended plan.

       13.      Counsel for MHEC, the United States Trustee’s Office and the Chapter 11
                                              3

Case 24-80487       Doc 127      Filed 03/27/25 Entered 03/27/25 16:16:44             Desc Main
                                  Document     Page 3 of 4
                Subchapter V Trustee have no objection to this request.

        14.     Counsel for Debtor anticipates MHEC will soon file a further pleading

                regarding its pending request for an order converting this case to chapter

                7, consistent with the terms outlined above.


        WHEREFORE, for the reasons set forth above Debtor respectfully request

 that this honorable court allow Debtor until June 30, 2025 to file an amended plan.



                                      Respectfully submitted,

                                              _/s/ Ron Brown
                                              Ron Brown, OBA # 16352
                                              1609 E. 4th Street
                                              Tulsa, Ok. 74120
                                              (918) 585-9500
                                              (866) 552-4874 fax
                                              ron@ronbrownlaw.com




                                              4

Case 24-80487     Doc 127     Filed 03/27/25 Entered 03/27/25 16:16:44            Desc Main
                               Document     Page 4 of 4
